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10
      Interim Lead Counsel for Plaintiffs and
11    the Proposed Class
12    [Additional Counsel on Signature Page]
13
                              UNITED STATES DISTRICT COURT
14
                             CENTRAL DISTRICT OF CALIFORNIA
15
                                     WESTERN DIVISION
16
      BARRY BRAVERMAN, et al.,                     No. 8:16-cv-00966-TJH-SS
17
                               Plaintiffs,          DECLARATION OF BARBARA A.
18                                                  MAHONEY IN SUPPORT OF
               vs.                                  PLAINTIFFS’ REPLY IN
19                                                  SUPPORT OF MOTION TO
      BMW OF NORTH AMERICA, LLC,                    EXCLUDE THE OPINIONS OF
20    et al.,                                       DEFENDANTS’ PROPOSED
                                                    EXPERT, DR. JONATHAN
21                                                  HIBBARD
                                  Defendants.
22                                                  Hearing Date: TBD
                                                    Time: TBD
23                                                  Judge: Hon. Terry J. Hatter, Jr.
                                                    Courtroom: 9B
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       DECL. OF BARBARA A. MAHONEY ISO PLFS’ REPLY ISO MOT. TO EXCLUDE DEFS’ PROPOSED EXPERT
                                      DR. JONATHAN HIBBARD
      010616-11/1216693 V1
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 1    I, Barbara A. Mahoney, declare and state as follows:
 2           1.    I am a member of the bar of the State of Washington and a partner of
 3
      Hagens Berman Sobol Shapiro LLP. I serve as Interim Class Counsel in this action
 4
      and submit this declaration in support of Plaintiffs’ Reply in Support of Motion to
 5

 6
      Exclude the Opinions of Defendants’ Proposed Expert Dr. Jonathan Hibbard. I have

 7    personal knowledge of the matters stated herein and, if called upon, I could and would
 8    competently testify thereto.
 9           2.     BMW relies on Schechner v. Whirlpool Corp., 2019 U.S. Dist. LEXIS
10
      171642 (E.D. Mich. Aug. 13, 2019) in its replies in supports of its motions to exclude
11
      Plaintiffs’ experts.1 (The Westlaw cite is Schechner v. Whirlpool Corp., No. 2:16-cv-
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13
      12409, 2019 WL 4891192 (E.D. Mich. Aug. 13, 2019).). BMW argues that Plaintiffs

14    should have addressed this decision when they filed their opposition briefs because the
15    case was issued before they filed their briefs on September 16, 2019. BMW’s Gaskin
16    Reply at 1 n.1; BMW’s Weir Reply at 1 n.1; see also BMW’s Weir Reply at 1-5 &
17
      BMW’s Gaskin Reply at 1-2, 7.
18
             2.    Attached as Exhibit A are true and correct copies of the email exchanges
19

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      I had with our firm’s Lexis and Westlaw representatives, in which they both

21    confirmed that Lexis and Westlaw had not published the decision until early October,
22    weeks after Plaintiffs had filed their opposition briefs.
23

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         1
25        See, Reply in Support of BMW of North America, LLC’s Motion to Exclude the
      Opinions of Plaintiffs’ Proposed Expert, Steve P. Gaskin, Dkt. No. 167 (“BMW’s
26    Gaskin Reply”); Reply in Support of BMW of North America, LLC’s Motion to
      Exclude the Opinions of Plaintiffs’ Proposed Expert, Colin B. Weir, Dkt. No. 168,
27    (“BMW’s Weir Reply”).
28
       DECL. OF BARBARA A. MAHONEY ISO PLFS’ REPLY ISO MOT. TO EXCLUDE DEFS’ PROPOSED EXPERT
                                      DR. JONATHAN HIBBARD
      010616-11/1216693 V1                    -1-
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 2
            I declare under penalty of perjury that the foregoing is true and correct.

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      Executed this 11th day of December, 2019.

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 5                                           Barbara A. Mahoney
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       DECL. OF BARBARA A. MAHONEY ISO PLFS’ REPLY ISO MOT. TO EXCLUDE DEFS’ PROPOSED EXPERT
                                      DR. JONATHAN HIBBARD
      010616-11/1216693 V1                    -2-
